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                      UNITED STATES DISTRICT COURT
                                                      for the
                                             Southern District of Illinois

David Kraybill                                            )
                                                          )   Case Number: __21-1235-JPG_
                                                          )                           (Clerk's Office will provide)
                                                          )
                Plaintiff(s)/Petitioner(s)                )
                           v.                             ) □ CML RIGHTS COMPLAINT
                                                          )   pursuant to 42 U.S.C. §1983 (State Prisoner)
David Mains                                               )   □ CML RIGHTS COMPLAINT
Donna Daniel                                              )   pursuant to 28 U.S.C. §1331 (Federal Prisoner)
Affordable Inmate Services, LLC                           )   � CIVIL COMPLAINT
                                                          )   pursuant to the Federal Tort Oaims Act, 28 U.S.C.
               Defenda11t(s)/Respondent(s)                )   §§1346, 2671-2680, or other law



 I.     JURISDICTION

        Plaintiff:

        A.     Plaintiff's mailing address, register number, and present place of
               confinement.
                                  David Kraybill
                                  #R51497
                                  10930 Lawrence Road
                                  Sumner, IL         62466
        Defendant #1:

        B.      Defendant            David Mains                                                   is employed as
                                               (a)      (Name of First Defendant)

                                Manager/owner
                                               (b)            (Position/Title)

                with Affordable Inmate Services, LLC                                   (936)-564-3403
                                               (c)      (Employer's Name and Address)

                P.O. Box 635145                      Nacogdoches, Texas              75963

               At the time the claim(s) alleged this complaint arose, was Defendant #1
               employed by the state, local, or federal government? D Yes I!! No

               If your answer is YES, briefly explain:


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